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From: a
To: Callinan, Timothy Richard FBI

Subject: [EXTERNAL EMAIL] - Fwd:

Date: Tuesday, October 29, 2024 10:09:06 PM
Attachments: a
Hi Tim

This is the email I received on 10/21/2024

Sent a my iPhone

Begin forwarded message:

From: Ricky Zimmermann <rickyzimmermann971 @gmail.com>
Date: October 21, 2024 at 12:13:42 PM EDT

To: a @aol.com
Subject:
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I know that calling RE or visiting I. would be a effective way to contact you
in case you don't cooperate. Don't even try to hide from this. You've no idea what my power is in

I suggest you read this message carefully. Take a minute to relax, breathe, and really dig into it. We're talking about
something serious here, and I ain't playing games. You don't know me however I know EVERYTHING about you and
right now, you are thinking how, right?

Well, you've been treading on thin ice with your browsing habits, scrolling through those videos and venturing into the
darker corners of cyberspace. I actually placed a Malware on a pom website and you accessed it to watch(you know what
I mean). And when you got busy enjoying those videos, your system started functioning as a RDP (Remote Control)
which provided me with complete accessibility to your smartphone. I can peep at everything on your screen, flick on
your camera and mic, and you wouldn't have a clue. Oh, and I've got access to all your emails, contacts, and social media
accounts too.

Been keeping tabs on your pathetic existence for a while now. It is just your hard luck that I found your misdemeanor, I
gave in more days than I probably should've investigating into your life. Extracted quite a bit of juicy info from your
system. and I've seen it all. Yeah, Yeah, I've got footage of you doing embarrassing things in your house (nice setup, by the
way). I then developed videos and screenshots where on one side of the screen, there's whatever garbage you were
watching, and on the other part, it is you doing dirty things. With simply a single click, I can send this filth to every single
of your contacts.

1 see you are getting anxious, but let's get real. In good faith, I want to wipe the slate clean, and allow you to move on with
your daily life and wipe your slate clean. I am about to provide you two options.

First Option is to tum a deaf car my email message. Let me tell you what is going to happen if you take this path. Your
video will get sent to your entire contacts. The video is straight fire, and I can't even fathom the embarrasement you'll
endure when your colleagues, friends, and fam check it out. But hey, that's life, ain't it? Don't be playing the victim here.

Second option is to pay me, and be confidential about it. We'll name this my “keep the secret charges”. Now Lets discuss

what will happen if you opt this option. Your secret remains your secret. | will destroy all the data and evidence once you
send payment. You'll make the payment via Bitcoin only. I want you to know I'm aiming for a win-win here, I'm a person

of integrity.

Amount to be sent: $2000
My Bitcoin Address: 1 Etuhxr799f3Roz | bibzR8atsuM ReeCKtC

Once you pay up, you'll sleep like a baby. I keep my word.

Important: You now have one day in order to make the payment and I will only accept Bitcoins (I've a specific pixel
within this e-mail, and right now I know that you have read through this e-mail). My system will catch that Bitcoin
payment and wipe out all the dirt I got on you. Don't even think about replying to this or negotiating, it's pointless. The
email and wallet are custom-made for you, untraceable. If I suspect that you've shared or discussed this mail with someone
else, your shitty video will instantly start getting sent to your contacts, And don't even think about turning off your
phone or resetting it to factory settings. It's pointless. { don't make mistakes, Diana.

Honestly, those online tips about covering your camera aren't as useless as they seem. [ am waiting for my payment..
